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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

DONALD GILBREATH, ROBERT                      §
STEVE HICKS AND CAREY                         §
STRIPLING, INDIVIDUALLY AND                   §
ON BEHALF OF ALL OTHERS                       §
SIMILARLY SITUATED                            §
            Plaintiffs                        §
                                              §
vs.                                           §       C.A. NO. 6:17-cv-00618-RWS
                                              §       JURY TRIAL DEMANDED
                                              §
BROOKSHIRE GROCERY COMPANY                    §
         Defendant                            §


                PLAINTIFFS’ CERTIFICATE OF INTERESTED PARTIES

        Plaintiffs’ disclose the following parties who have an interest in the outcome of this
litigation:

PLAINTIFF

        1. Donald Gilbreath
        2. Robert Steve Hicks
        3. Carey Stripling
        4. Plaintiff’s Counsel
           William S. Hommel, Jr.
           Hommel Law Firm
           1404 Rice Road, Suite 200
           Tyler, Texas 75703

DEFENDANT

        1. Brookshire Grocery Company

        2. All persons and entities listed on Defendants’ Certificate(s) of Interested Parties.




PLAINTIFFS’ CERTIFICATE OF INTERESTED PARTIES
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                                                            Respectfully submitted,

                                                            /s/ William S. Hommel, Jr.
                                                            William S. Hommel, Jr.
                                                            State Bar No. 00934250
                                                            Hommel Law Firm
                                                            1404 Rice Road, Suite 200
                                                            Tyler, Texas 75703
                                                            903-596-7100
                                                            469-533-1618 Facsimile
                                                            ATTORNEY FOR PLAINTIFF



                                       CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the above and foregoing instrument has been served on
all counsel of record through PACER on the 28th day of November, 2017.


                                                           /s/ William S. Hommel, Jr.
                                                           William S. Hommel, Jr.




PLAINTIFFS’ CERTIFICATE OF INTERESTED PARTIES
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